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                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION


IN RE:                                          :           CASE NO. 20-71598-WLH
                                                :
NICOLE RENEE PAINTER,                           :           CHAPTER 7
                                                :
         Debtor.                                :
                                                :


    NOTICE OF MOTION FOR ORDER AUTHORIZING SETTLEMENT WITH DEBTOR
     UNDER RULE 9019 OF THE FEDERAL RULES OF BANKRUPTCY PROCEDURE;
                 DEADLINE TO OBJECT; AND FOR HEARING

         PLEASE TAKE NOTICE that on December 27, 2021, S. Gregory Hays, as Chapter 7

Trustee (“Trustee”) for the bankruptcy estate (the “Bankruptcy Estate”) of Nicole Renee Painter

(“Debtor”), filed a Motion for Order Authorizing Settlement with Debtor under Rule 9019 of the

Federal Rules of Bankruptcy Procedure [Doc. No. 26] (the “Motion”), and related papers with the

Court, seeking an order, among other things, approving a Settlement Agreement1 pursuant to

which, inter alia,2 Trustee, on the one hand, and Debtor, on the other hand, settle certain claims

that the Bankruptcy Estate has regarding: (a) that certain real property with a common address of

384 Eagle Tiff Drive, Sugar Hill, Georgia 30518 (the “Property”); and (b) a tax refund with an

approximate value of $2,500.00, two Sea Doos, and bank accounts with a non-exempt value of

$2,752.00 (collectively, the “Personal Property Interests” and with the Property, the “Property




1
       Capitalized terms used herein but not otherwise defined shall have the meanings ascribed
to them in the Motion.
2
       The following is a summary of the Settlement Agreement and is not intended to be
comprehensive. To the extent that anything in this summary is contrary to the terms of the
Settlement Agreement, the terms of the Settlement Agreement shall control.



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Interests”) for a payment of $35,000.00 (the “$35,000.00 Settlement Funds”)3 from Debtor in

exchange for Trustee’s abandoning the Property Interests to Debtor. The exact terms of the

Settlement Agreement are set forth in Exhibit “A” to the Motion.

        Pursuant to Second Amended and Restated General Order No. 24-2018, the Court may

consider this matter without further notice or a hearing if no party in interest files a response or

objection within twenty-one (21) days from the date of service of this notice. If you object to the

relief requested in the Motion, you must timely file your objection with the Bankruptcy Clerk

at: Bankruptcy Clerk, U.S. Bankruptcy Court, Suite 1340, 75 Ted Turner Drive, S.W., Atlanta,

Georgia 30303, and serve a copy on the Trustee's attorney, Michael J. Bargar, Arnall Golden Gregory

LLP, 171 17th Street, NW, Suite 2100, Atlanta, Georgia 30363, and any other appropriate persons by

the objection deadline. The response or objection must explain your position and be actually received

by the Bankruptcy Clerk within the required time.

        A hearing on the Motion has been scheduled for February 3, 2022. The Court will hold an

initial telephonic hearing for announcements on the Motion at the following number: toll-free

number: 833-568-8864; meeting ID 161 202 1574, at 10:30 a.m. in Courtroom 1403, United

States Courthouse, 75 Ted Turner Drive, S.W., Atlanta, Georgia.

        Matters that need to be heard further by the Court may be heard by telephone, by video

conference, or in person, either on the date set forth above or on some other day, all as determined

by the Court in connection with the initial telephonic hearing. Please review the “Hearing

Information” tab on the judge’s webpage, which can be found under the “Dial-in and Virtual

Bankruptcy Hearing Information” link at the top of the webpage for this Court,

www.ganb.uscourts.gov for more information.


3
        Debtor has paid the $35,000.00 Settlement Funds to Trustee.


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        If an objection or response is timely filed and served, the hearing will proceed as scheduled.

If you do not file a response or objection within the time permitted, the Court may grant the

relief requested without further notice or hearing provided that an order approving the relief

requested is entered at least one business day prior to the scheduled hearing. If no objection is timely

filed, but no order is entered granting the relief requested at least one business day prior to the hearing,

the hearing will be held at the time and place as scheduled.

        Your rights may be affected. You should read these papers carefully and discuss them

with your attorney, if you have one in this bankruptcy case. If you do not have an attorney,

you may wish to consult one.

        Dated: December 28, 2021.
                                                 ARNALL GOLDEN GREGORY LLP
                                                 Attorneys for Trustee

                                                 By:      /s/ Michael J. Bargar
171 17th Street, NW, Suite 2100                           Michael J. Bargar
Atlanta, GA 30363                                         Georgia Bar No. 645709
404.873-7031                                              michael.bargar@agg.com




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